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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

  SYMBOLOGY INNOVATIONS, LLC          §
                                      §
        Plaintiff,                    §               Case No: 2:15-cv-01169-RWS-RSP
                                      §
  vs.                                 §               LEAD CASE
                                      §
  ADAMS EXTRACT                       §
                                      §
        Defendant.                    §
  ___________________________________ §
  SYMBOLOGY INNOVATIONS, LLC          §
                                      §
        Plaintiff,                    §               Case No: 2:15-cv-01869-JRG-RSP
                                      §
  vs.                                 §               CONSOLIDATED CASE
                                      §
  WELLMARK, INC. d/b/a WELLMARK §
  BLUE CROSS AND BLUE SHIELD OF §
  IOWA et al                          §
                                      §
        Defendant.                    §
  ___________________________________ §

         UNOPPOSED MOTION TO DISMISS DEFENDANTS WITH PREJUDICE


         Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure and the terms of a separate
  agreement (“Settlement Agreement”), Plaintiff Symbology Innovations, LLC (“Symbology”) files
  this Unopposed Motion to Dismiss Defendants Wellmark, Inc. d/b/a Wellmark Blue Cross and
  Blue Shield of Iowa, Wellmark of South Dakota, Inc. d/b/a Wellmark Blue Cross Blue Shield of
  South Dakota, Blue Cross and Blue Shield of Texas, Inc. With Prejudice.
         Wherefore, Symbology moves this Court to dismiss this action and all claims by
  Symbology against Defendants with prejudice, and all claims by Defendants without prejudice,
  with each party to bear its own costs, attorney’s fees and expenses, and requests that the Court
  enter the proposed order of dismissal submitted herewith.
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  Dated: July 6, 2016                             Respectfully submitted,
                                                  /s/ Jay Johnson
                                                  JAY JOHNSON
                                                  State Bar No. 24067322
                                                  BRAD KIZZIA
                                                  State Bar No. 11547550
                                                  ANTHONY RICCIARDELLI
                                                  State Bar No. 24070493
                                                  KIZZIA JOHNSON PLLC
                                                  1910 Pacific Ave., Suite 13000
                                                  Dallas, TX 75201
                                                  (214) 451-0164
                                                  Fax: (214) 451-0165
                                                  jay@kjpllc.com
                                                  bkizzia@kjpllc.com
                                                  anthony@kjpllc.com

                                                  ATTORNEYS FOR PLAINTIFF



                                   CERTIFICATE OF CONFERENCE

  The undersigned certifies that on July 6, 2016, he met and conferred with counsel for Defendant concerning
  this motion and that Defendants’ counsel agreed to the motion.

                                                  /s/ Jay Johnson
                                                  Jay Johnson

                                      CERTIFICATE OF SERVICE

  The undersigned certifies that all counsel of record who have consented to electronic service are being
  served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-5(a)(3) on July 6,
  2016.

                                                  /s/ Jay Johnson
                                                  Jay Johnson
